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                                         ORDERED.


         Dated: June 23, 2016




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

In re:                                                         Case No.: 8:15-bk-09065-CPM
                                                               Chapter 7
Jolanta Zasadna

                 DEBTOR                         /

                              ORDER APPROVING APPLICATION
                             FOR COMPENSATION FOR REALTOR

          This matter came before the Court for hearing on June 20, 2016, at 1:30, upon the
Chapter 7 Trustee’s Application for Compensation for Realtor (Application, Doc. No. 31)
wherein the Trustee requests that the Court award fees to Real Estate Professionals, BK Global
Real Estate Services (“BKG”) and Century 21 Beggins (“Listing Agent”) in the amount of:
$10,872.00, or 6% of the gross sale price from the proposed sale of the property located at 3816
104th Ave N, Clearwater, FL 33762. The Court considered the Application and is satisfied that
the Application is well taken and should be approved.
Accordingly, it is
          ORDERED
          The Application is approved and the Trustee is authorized to
          1. Pay to BKG and Listing Agent fees in the total amount of up to $10,872.00, or 6% of
              the total gross sales price from the sale of the property located at 3816 104th Ave N,
              Clearwater, FL 33762.
          2. Any sharing of the fees by BKG and Listing Agent with a co-operating agent does not
              violate this Order.
          3. Such fees to be paid at closing without further Order from the Court.
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Attorney, Richard M. Dauval, Esq. is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.
